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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

MAXINE L. H.,                    §
                                 §
       Plaintiff,                §
                                 §
v.                               §             Case No. 3:19-cv-02209-N-BT
                                 §
ANDREW SAUL, Commissioner of the §
Social Security Administration,  §
                                 §
       Defendant.                §

     ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

     The Court has under consideration the Findings, Conclusions, and

Recommendation of United States Magistrate Judge Rebecca Rutherford dated

August 20, 2020. The Court has reviewed the Findings, Conclusions, and

Recommendation for plain error. Finding none, the Court accepts the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge.



     SO ORDERED, this 25th day of September, 2020.




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                             DAVID C. GODBEY
                             UNITED STATES DISTRICT JUDGE




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